         Case 4:18-cv-00886-KGB Document 47 Filed 09/20/19 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION

PATRICIA WALKER-SWINTON                                                  PLAINTIFF

v.                                 Case No. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN HIS INDIVIDIAL AND
OFFICIAL CAPACITY                              DEFENDANTS

 PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
        FILE RESPONSE TO DEFENDANTS’ MOTION FOR
                    RECONSIDERATION

        Pursuant to Rule 6 of the Federal Rules of Civil Procedure, Plaintiff files this

unopposed motion for extension of time to file response in opposition to

Defendants’ Motion for Reconsideration (Dkt. 42, hereafter “Motion”) and states:

     1. On September 5, 2019, the Court entered an Order on all pending motions.

(Dkt. 41)

     2. On September 10, 2019, Defendants filed a Motion for Reconsideration and

Brief in Support. (Dkts. 42, 43)

     3. The deadline to file a response to Defendants’ Motion has not yet expired.

     4. The undersigned has recently experienced the loss of a close family friend

and is unable to complete the response.



                                            1
        Case 4:18-cv-00886-KGB Document 47 Filed 09/20/19 Page 2 of 2




   5. This is “good cause” to grant Plaintiff’s motion. This motion is in good

   faith, and is not interposed for any delay or prejudice, but is in the best interest

   of justice. The granting of this motion will not prejudice any of the parties to

   this action.

   6. The Plaintiff is requesting an additional ten (10) days to respond.

   7. Plaintiff contacted opposing counsel prior to filing this motion and received

communication kindly unopposing the extension.

      WHEREFORE, Plaintiff prays that this Court grant an extension of time to

file a response to the Defendants’ Motion until October 4, 2019, and for all other

proper and just relief.



                                               Respectfully submitted,

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